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                UNITED STATES DISTRICT COURT SOUTHERN DISTR ICT                            -w
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          C .   F .P .B . V S . OCWEN FINM CIM --CA SE NO .   9:l7-cv-8o 9s Mlï !0 2019
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        authorized representative ; farrell             patrick lorne -non
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                                 p .farreiil3eyahoo .com
                                  11798 NW 181ST LN
                                  ALACHUA ,FL . 32615
                                     352-575-3659




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